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 1
                         UNITED STATES DISTRICT COURT
 2                            DISTRICT OF NEVADA
 3                                   -oOo-
                                                                2:12-cr-00237-APG-CWH
 4    UNITED STATES OF AMERICA,                                 2:13-cr-00237-APG-CWH

 5                            Plaintiff,                        ORDER
                                                                ORDER

 6                 vs.

 7    PERLA RAMIREZ,

 8                            Defendant.

 9                                                    ORDER

10           On August 13, 2014, counsel for Perla Ramirez, Michael P. Kimbrell, Esq., filed a motion to

11    determine a release date. Doc. #387. The basis of the motion was Ms. Ramirez continued detention

12    on a material witness warrant since February 7, 2014. Doc. #333. The Government sought and

13    obtained the material witness warrant after learning that Ms. Ramirez had completed her custodial

14    sentence in the underlying case, and was set to be deported.

15           Since the filing of the motion for determination of a release date, the Court has held several

16    status conferences to determine whether Ms. Ramirez could be released on conditions pending the

17    trial of David Duran. See Doc. #390, 397, 398, 401 and 405.

18           Based on representations of counsel, to include securing the sworn testimony of Perla

19    Ramirez in accordance with applicable law, as well as additional information obtained from the

20    United States Probation Office and the Department of Homeland Security – Immigration, Customs

21    and Enforcement (ICE),

22           IT IS HEREBY ORDERED that Perla Ramirez is released to the custody of Probation,

23    with her terms of supervised release modified as follows: The defendant shall reside in a residential

24    re-entry center for a period of up to six (6) months in either the District of Nevada or the District of


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 1    Arizona, as approved or directed by the probation officer. Ms. Ramirez will be released as soon as a
 2    bed is available in either Las Vegas or Arizona. Defendant is remanded into custody until the
 3    paperwork with ICE can be finalized and she can be placed in a residential re-entry center.
 4                  12 day of November, 2014.
             DATED ____
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                                                   _____________________________________
 7                                                 THE HONORABLE ANDREW P. GORDON
                                                   UNITED STATES DISTRICT COURT JUDGE
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